
OPINION OF THE COURT
Memorandum.
The order of the Appellate Division is affirmed, without costs, for reasons stated in the memorandum of the court (80 AD2d 851). We note, additionally, that the project for establishment of a secure juvenile facility was authorized pursuant to legislative authority granted to the Division for Youth. The establishment of such a facility will, in most instances, inherently and inescapably pose some com*980munity problems wherever it may be geographically located. In any challenge to such an agency’s declaration of environmental nonsignificance in regard to such a facility, judicial focus must be on whether the agency failed to consider substantial disadvantages peculiar to a particular location or that the exposure of the community may not be reduced to reasonable proportions by the employment of other means to complete the project at the proposed location. There is no substantial proof of either in this record.
Chief Judge Cooke and Judges Jasen, Gabrielli, Jones, Wachtler, Fuchsberg and Meyer concur.
Order affirmed, without costs, in a memorandum.
